21 F.3d 422NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Ralph Samuel HERRING, Plaintiff Appellant,v.Herbert JONES;  J.R. Yeager, Defendants Appellees.
    No. 93-7315.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 17, 1994.Decided March 14, 1994.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Jackson L. Kiser, Chief District Judge.  (CA-93-191)
      Ralph Samuel Herring, appellant pro se.
      George H. Gilliam, Kimberley Ann Whittle, Paxson, Smith, Gilliam &amp; Scott, P.C., Charlottesville, VA, for appellees.
      W.D.Va.
      AFFIRMED.
      Before RUSSELL, MURNAGHAN, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Herring v. Jones, No. CA-93-191 (W.D. Va.  Nov. 17, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    